      Case 4:17-cv-00681-O Document 1 Filed 08/16/17              Page 1 of 4 PageID 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

KAREN SNELL AND GARY SNELL,                  §
    PLAINTIFFS,                              §
                                             §
VS.                                          §      Civil Action No. _______________
                                             §
HOLGUIN TRANSPORT SERVICE                    §
CORP. DBA H.T.S. AND SERGIO                  §
AGUIRRE,                                     §
     DEFENDANTS.                             §      JURY TRIAL DEMANDED


          DEFENDANTS HOLGUIN TRANSPORT SERVICE CORP. DBA H.T.S.
                AND SERGIO AGUIRRE’S NOTICE OF REMOVAL


TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW, HOLGUIN TRANSPORT SERVICE CORP. DBA H.T.S. and SERGIO

AGUIRRE, Defendants in the above entitled and numbered cause and files their Notice of Removal

under 28 U.S.C. §1446(a).

                                        A. Introduction

      1. Plaintiffs are Karen Snell and Gary Snell residents of North Richland Hills, Tarrant

County, Texas, who appear by and through their attorney Carlos G. Galliani of the Law Offices of

Carlos G. Galliani, P.C., 11700 Preston Road, Suite 660 #216, Dallas, TX 75230.

      2. Defendants are Holguin Transport Services Corp. dba H.T.S. and Sergio Aguirre who

appear by and through their attorney Vionette Delgado of the David Klosterboer & Associates,

1301 E. Collins Boulevard, Suite 490, Richardson, TX 75081.

      3. Defendant Holguin Transport Services Corp. dba H. T. S. is a Florida Corporation having

its principal place of business at 8918 NW 1219th Terrace, Miami-Dade County, Hialeah, Florida

33018. Defendant Sergio Aguirre is an individual residing at 640 W. 8th Street, Apt. 7, Yuma



DEFENDANTS’ NOTICE OF REMOVAL                                                      PAGE 1
      Case 4:17-cv-00681-O Document 1 Filed 08/16/17                 Page 2 of 4 PageID 2


County, Yuma, AZ 85364. On July 3, 2017, Plaintiffs sued Defendants over a motor vehicle

accident. The suit was filed in County Court at Law No. 1, Tarrant County, Fort Worth, Texas

under Cause No. 2017-003991-1.

    4. Defendant Holguin Transport Service Corp. dba H.T.S was served with the suit on or

about July 20, 2017. Defendant Sergio Aguirre was served with the suit on or about July 18, 2017.

Defendants file their original Notice of Removal within the 30-day time period required by 28

U.S.C. §1446(b).

                                       B. Basis for Removal

    5.   Removal is proper because there is complete diversity between the parties. 28 U.S.C.

§1332(a); Darden v. Ford Consumer Fin. Co., 200 F.3d 753, 755 (11th Cir. 2000). Plaintiffs are

citizens of North Richland Hills, Tarrant County, Texas. Defendant Holguin Transport Service

Corp. dba H.T.S. is a corporation incorporated in the State of Florida with its principal place of

business at 8918 NW 1219th Terrace, Miami-Dade County, Hialeah, Florida 33018. Defendant

Holguin Transport Service Corp., is authorized to do business in the State of Texas. Defendant

Sergio Aguirre resides at 640 W. 8th Street, Apt. 7, Yuma, Arizona, 85364.

    6.   The amount in controversy exceeds $75,000, excluding interest, costs, and attorney fees.

28 U.S.C. §1332(a). In the state court case, Plaintiffs have alleged they are seeking monetary relief

over $100,000.00, but not more than $200,000.00 for serious and permanent personal injuries.

Therefore, the damages incurred by the Plaintiffs exceed the jurisdictional threshold of this court.

    7.   All pleadings, process, orders, and other filings in the state court action are attached

hereto as required by 28 U.S.C. §1446(a) and Local Rule 81.1.

    8.   Venue is proper in this district under 28 U.S.C. §1441(a) because the state court where

the action has been pending is located in this district.




DEFENDANTS’ NOTICE OF REMOVAL                                                          PAGE 2
     Case 4:17-cv-00681-O Document 1 Filed 08/16/17                 Page 3 of 4 PageID 3


    9.   Defendants will promptly file a copy of this notice of removal with the clerk of the state

court where the action has been pending.

                                           C. Jury Demand

    10. Plaintiffs demanded a jury in the state court action.

    11. Defendants hereby demand a trial by jury.

                                           D. Conclusion

    12. This Court has the proper jurisdiction on this matter as there is a complete diversity of

the parties and the amount in controversy exceeds $75,000, excluding interest, costs, and attorney

fees. For these reasons, Defendants Holguin Transport Service Corp. dba H.T.S. and Sergio

Aguirre ask the Court to remove the action to this federal court.

                                              Respectfully submitted,


                                              /s/Vionette D. Delgado
                                              Vionette D. Delgado
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DEFENDANTS’ NOTICE OF REMOVAL                                                        PAGE 3
     Case 4:17-cv-00681-O Document 1 Filed 08/16/17               Page 4 of 4 PageID 4


                               CERTIFICATE OF SERVICE

       I hereby certify that on this August 16, 2017, the above and foregoing pleading was served
on counsel for Plaintiff by the Court’s ECF filing system

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                                                    /s/Vionette D. Delgado
                                                    Vionette D. Delgado




DEFENDANTS’ NOTICE OF REMOVAL                                                      PAGE 4
